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     Federal Defender
 2   MARK J. REICHEL, Bar #155034
     Assistant Federal Defender
 3   801 I Street, 3rd Floor
     Sacramento, California 95814
 4   Telephone: (916) 498-5700
 5   Attorney for Defendant
     LIANNA SUGGETT
 6
 7
                           IN THE UNITED STATES DISTRICT COURT
 8
                         FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10
     UNITED STATES OF AMERICA,             )
11                                         ) Case No. CR.S-04-337-WBS
                        Plaintiff,         )
12                                         )
            v.                             )      STIPULATION AND ORDER;
13                                         )          EXCLUSION OF TIME
                                           )
14                                         )
     LIANNA SUGGETT,                       ) Date: July 27, 2005
15                                         ) Time: 9:00 a.m.
                    Defendant.               Judge: Honorable William B. Shubb
16   _____________________________

17          IT IS HEREBY STIPULATED by and between the parties hereto through

18   their respective counsel, KEN MELIKIAN, Assistant United States

19   Attorney, attorney for Plaintiff, MARK J. REICHEL, Assistant Federal

20   Defender, attorney for Defendant, that the previously scheduled status

21   conference hearing date of July 6, 2005 be vacated and the matter set

22   for status conference hearing on July 27, 2005 at 9:00 am.

23          This continuance is requested on the following grounds:

24          Defense counsel was unavailable to work on this case for the last

25   2 weeks due to work on other criminal matters, specifically briefing

26   required in the United States Supreme Court;

27          Defense counsel and the United States are currently engaged in

28   Stip and Order
              Case 2:04-cr-00337-WBS Document 66 Filed 07/06/05 Page 2 of 3


 1   plea negotiations to resolve the case, do not want to set the case for
 2   trial, and would like to resolve the case without further use of
 3   judicial resources;
 4          Defense counsel is awaiting some final records in regard to the
 5   defendant’s prior criminal history which will assist in a correct
 6   evaluation of her potential penalties upon conviction;
 7          Defense counsel will for the next 2 weeks conduct additional
 8   background factual investigation over matters that only recently
 9   emerged, will obtain documents by subpoena, and will have to conduct
10   legal research on the case in order to properly prepare for a potential
11   change of plea.
12          Accordingly, all counsel and the defendant agree that time under
13   the Speedy Trial Act from the date this stipulation is lodged, through
14   July 27, 2005, should be excluded in computing the time within which
15   trial must commence under the Speedy Trial Act, pursuant to Title 18
16   U.S.C. § 3161 (H)(8)(B)(iv) and Local Code T4.
17   DATED:     July 5, 2005.                  Respectfully submitted,
18                                                   QUIN DENVIR
                                                     Federal Public Defender
19
20
     DATED:     July 5, 2005.                        /s/MARK J. REICHEL
21                                                   MARK J. REICHEL
                                                     Assistant Federal Defender
22                                                   Attorney for Defendant
23
                                                     McGREGOR SCOTT
24                                                   United States Attorney
25
26   DATED:     July 5, 2005.                        /s/MARK J. REICHEL for
                                                     KEN MELIKIAN
27                                                   Assistant U.S. Attorney
                                                     Attorney for Plaintiff
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     Stip and Order                            2
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 1                                        O R D E R
 2        IT IS SO ORDERED. The court finds that the interests of justice
     in granting the continuance outweighs the public's interest in a speedy
 3   trial and therefore time is excluded in the interests of justice
     pursuant to 18 U.S.C. § 3161 (H)(8)(B)(iv) and Local Code T4.
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     DATED: July 5, 2005
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     Stip and Order                            3
